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 Professional        Document           Date                         Quote                             Cita�on
                    Descrip�on          Filed
Brown Rudnick   Fee Applica�on for    2/13/23   1/30/23: “COMMUNICATE WITH ESTIMATOR RE THIRD        ECF No.
LLP             the Period of                   CIRCUIT DECISION” (.3)                               3738-1, Ex
                January 1, 2023                                                                      A, Pg. 39 of
                through January 31,                                                                  45.
                2023
Brown Rudnick   Fee Applica�on for    2/13/23   1/31/23: “CONFERENCE CALL WITH MR. MOLTON AND        ECF No.
LLP             the Period of                   MR. CICERO REGARDING POST-DECISION MEDIATION         3738-1, Ex
                January 1, 2023                 (.6); DRAFT AND EDIT OUTLINE FOR ALTERNATIVE         A, Pg. 39 of
                through January 31,             SETTLEMENT PROPOSAL (.8);”                           45.
                2023


                                                Total �me: 1.7


Brown Rudnick   Fee Applica�on for    3/3/23    2/17/23: “PREPARE FOR AND PARTICIPATE IN MEETING     ECF No.
LLP             the Period of                   WITH COMMITTEE MEMBER REPRESENTATIVES RE:            3842-1, Ex
                February 1, 2023                SETTLEMENT STRATEGIES AND OPPORTUNITIES” (1.90)      A, Pg. 10 of
                through February                                                                     45.
                28, 2023
Brown Rudnick   Fee Applica�on for    3/3/23    2/6/23: “PREPARE FOR SESSIONS WITH KEN FEINBERG      ECF No.
LLP             the Period of                   SCHEDULED FOR 9 FEBRUARY” (2)                        3842-1, Ex
                February 1, 2023,                                                                    A, Pg. 17 of
                through February                                                                     45.
                28, 2023
Brown Rudnick   Fee Applica�on for    3/3/23    2/7/23: “PREPARE FOR AND ATTEND CALL WITH K.         ECF No.
LLP             the Period of                   FEINBERG RE: MEETINGS AND SESSIONS WEEK OF 2/6       3842-1, Ex
                February 1, 2023                WITH COMMITTEE MEMBER REPRESENTATIVES AND            A, Pg. 17 of
                through February                DEBTORS” (1.1)                                       45.
                28, 2023
Brown Rudnick   Fee Applica�on for    3/3/23    2/7/23: “PREPARATION FOR SESSIONS ON FEBRUARY 9      ECF No.
LLP             the Period of                   WITH KEN FEINBERG AND HIS TEAM” (2.1)                3842-1, Ex
                February 1, 2023                                                                     A, Pg. 17 of
                through February                                                                     45.
                28, 2023
Brown Rudnick   Fee Applica�on for    3/3/23    2/7/23: “ZOOM CONFERENCE WITH KEN FEINBERG AND ECF No.
LLP             the Period of                   HIS TEAM” (.8)                                 3842-1, Ex
                February 1, 2023                                                               A, Pg. 17 of
                through February                                                               45.
                28, 2023
Brown Rudnick   Fee Applica�on for    3/3/23    2/7/23: “ATTEND ALL DAY SESSIONS WITH COMMITTEE      ECF No.
LLP             the Period of                   MEMBER REPRESENTATIVES AND K. FEINBERG AND           3842-1, Ex
                February 1, 2023                DEBRIEF THEREAFTER (8.3)”                            A, Pg. 17 of
                through February                                                                     45.
                28, 2023



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Brown Rudnick   Fee Applica�on for   3/3/23   2/9/23: “PARTICIPATE IN MEETING OF COMMITTEE           ECF No.
LLP             the Period of                 GROUPS WITH K FEINBERG AND TEAM” (9.5)                 3842-1, Ex
                February 1, 2023                                                                     A, Pg. 17 of
                through February                                                                     45.
                28, 2023
Brown Rudnick   Fee Applica�on for   3/3/23   2/9/23: “PARTICIPATE IN COMMITTEE MEETINGS             ECF No.
LLP             the Period of                 ARRANGED BY K. FEINBERG” (3.7)                         3842-1, Ex
                February 1, 2023                                                                     A, Pg. 17 of
                through February                                                                     45.
                28, 2023
Brown Rudnick   Fee Applica�on for   3/3/23   2/13/13: “CONFERENCE CALL WITH BROWN RUDNICK           ECF No.
LLP             the Period of                 TEAM REGARDING ALTERNATIVE SETTLEMENT                  3842-1, Ex
                February 1, 2023              STRUCTURES (1.0); REVIEW CASE LAW IN                   A, Pg. 17 of
                through February              FURTHERANCE OF POSSIBLE ALTERNATIVE SETTLEMENT         45.
                28, 2023                      STRUCTURE (2.1)”
Brown Rudnick   Fee Applica�on for   3/3/23   2/16/23: “DRAFT AND OUTLINE ALTERNATIVE                ECF No.
LLP             the Period of                 SETTLEMENT PLAN STRUCTURE (2.6); CONFERENCE            3842-1, Ex
                February 1, 2023              WITH MR. CICERO REGARDING ALTERNATIVE                  A, Pg. 18 of
                through February              SETTLEMENT PLAN STRUCTURE (1.5); REVIEW OC             45.
                28, 2023                      SETTLEMENT OPTION PRESENTATION (.3)”
Brown Rudnick   Fee Applica�on for   3/3/23   2/17/23: “DRAFT AND EDIT ALTERNATIVE SETTLEMENT        ECF No.
LLP             the Period of                 STRUCTURE (1.3); CONFERENCE WITH MR. MOLTON            3842-1, Ex
                February 1, 2023              AND MR. CICERO REGARDING ALTERNATIVE                   A, Pg. 18 of
                through February              SETTLEMENT STRUCTURE (.5); CONFERENCE CALL WITH        45.
                28, 2023                      OC GROUP REGARDING ALTERNATIVE SETTLEMENT
                                              STRUCTURES (1.1)”
Brown Rudnick   Fee Applica�on for   3/3/23   2/17/23: “NON-WORKING RETURN TRAVEL FROM NEW           ECF No.
LLP             the Period of                 YORK FOR MEETINGS REGARDING SETTLEMENT                 3842-1, Ex
                February 1, 2023              ALTERNATIVES” (5.4)                                    A, Pg. 22 of
                through February                                                                     45.
                28, 2023
Brown Rudnick   Fee Applica�on for   3/3/23   2/13/23: “ZOOM CONFERENCE WITH HL, FTI AND             ECF No.
LLP             the Period of                 COUNSEL RE POTENTIAL STRUCTURES FOR RESOLUTION         3842-1, Ex
                February 1, 2023              FOLLOWING THIRD CIRCUIT OPINION DISMISSING             A, Pg. 30 of
                through February              CASE” (1)                                              45.
                28, 2023
Brown Rudnick   Fee Applica�on for   3/3/23   2/13/23: “PREPARE FOR AND ATTEND STRATEGY CALL         ECF No.
LLP             the Period of                 RE: EXIT AND SETTLEMENTS” (1)                          3842-1, Ex
                February 1, 2023                                                                     A, Pg. 30 of
                through February                                                                     45.
                28, 2023
Brown Rudnick   Fee Applica�on for   3/3/23   2/13/23: “RESEARCH 524(G) SETTLEMENTS AND              ECF No.
LLP             the Period of                 PREPACK SETTLEMENTS AS WELL AS SETTLEMENTS             3842-1, Ex
                February 1, 2023              ADJACENT TO BANKRUPTCY FOR GO FORWARD                  A, Pg. 31 of
                through February              STRATEGIES (2.3); DRAFT INTERNAL STRATEGY MEMO         45.
                28, 2023                      RE: SAME (1.1); CALL WITH D. MOLTON RE: SAME (.1)”




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Brown Rudnick   Fee Applica�on for   3/3/23   2/13/23: “LEGAL AND FINANCIAL PROFS CALL RE                 ECF No.
LLP             the Period of                 SETTLEMENT ISSUES (.7)”                                     3842-1, Ex
                February 1, 2023                                                                          A, Pg. 31 of
                through February                                                                          45.
                28, 2023
Brown Rudnick   Fee Applica�on for   3/3/23   2/15/23: “PREPARE, DRAFT AND REVISE POWER POINT             ECF No.
LLP             the Period of                 PRESENTATION ON SETTLEMENT OPTIONS PRIOR TO                 3842-1, Ex
                February 1, 2023              AND AFTER DISMISSAL (2.8)”                                  A, Pg. 32 of
                through February                                                                          45.
                28, 2023
Brown Rudnick   Fee Applica�on for   3/3/23   2/15/23: “PARTICIPATE IN CONFERENCE CALL WITH               ECF No.
LLP             the Period of                 KEN FEINBERG AND CAMILA BIROS” (.5)                         3842-1, Ex
                February 1, 2023                                                                          A, Pg. 32 of
                through February                                                                          45.
                28, 2023
Brown Rudnick   Fee Applica�on for   3/3/23   2/16/23: “DRAFT AND REVISE POTENTIAL SETTLEMENT             ECF No.
LLP             the Period of                 STRATEGIES SLIDE DECK AND RESEARCH INTO                     3842-1, Ex
                February 1, 2023              SETTLEMENT STRUCTURES UNDER 524(G) RE: SAME                 A, Pg. 33 of
                through February              (3.3); STRATEGY AND SETTLEMENT PLANNING SESSION             45.
                28, 2023                      WITH E. GOODMAN (1.1)”
Brown Rudnick   Fee Applica�on for   3/3/23   2/17/23: “CONFERENCE WITH A BIRCHFIELD RE                   ECF No.
LLP             the Period of                 COMMUNICATIONS WITH MEDIATORS RE CASE                       3842-1, Ex
                February 1, 2023              CONCLUSION ISSUES” (.8)                                     A, Pg. 33 of
                through February                                                                          45.
                28, 2023
Brown Rudnick   Fee Applica�on for   3/3/23   2/16/23: “ASSESS COMMUNICATIONS WITH                        ECF No.
LLP             the Period of                 MEDIATORS” (.4)                                             3842-1, Ex
                February 1, 2023                                                                          A, Pg. 42 of
                through February                                                                          45.
                28, 2023
Brown Rudnick   Fee Applica�on for   3/3/23   2/20/23: “REVIEW COMMUNICATIONS WITH                        ECF No.
LLP             the Period of                 MEDIATORS RE CASE CONCLUSION ISSUES” (1.1)                  3842-1, Ex
                February 1, 2023                                                                          A, Pg. 42 of
                through February                                                                          45.
                28, 2023


                                              Total �me: 61.4


Genova Burns    Fee Applica�on for   3/6/23   2/1/23: “TCC call regarding Feinberg, appellate issues,     ECF No.
LLC             the Period of                 etc.” (1.4)                                                 3835-2, Ex
                February 2023                                                                             A, Pg. 2 of
                                                                                                          20.
Genova Burns    Fee Applica�on for   3/6/23   2/9/23: “Call with Melanie and Prieto regarding             ECF No.
LLC             the Period of                 alternate route.” (.4)                                      3835-2, Ex
                February 2023



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                                                                                                           20.
Genova Burns     Fee Applica�on for    3/6/23    2/15/23: “Call with D. Molton regarding Feinberg and      ECF No.
LLC              the Period of                   mee�ng prepara�on” (.3)                                   3835-2, Ex
                 February 2023                                                                             A, Pg. 11 of
                                                                                                           20.
Genova Burns     Fee Applica�on for    3/6/23    2/26/23: “Long call with Rosen regarding ongoing          ECF No.
LLC              the Period of                   discussions” (1)                                          3835-2, Ex
                 February 2023                                                                             A, Pg. 18 of
                                                                                                           20.
Genova Burns     Fee Applica�on for    3/6/23    2/27/23: “Calls with Rosen and Molton regarding status    ECF No.
LLC              the Period of                   and nego�a�on.” (1.2)                                     3835-2, Ex
                 February 2023                                                                             A, Pg. 18 of
                                                                                                           20.
Genova Burns     Fee Applica�on for    3/6/23    2/8/23: Call with Rosen. (.4)                             ECF No.
LLC              the Period of                                                                             3835-2, Ex
                 February 2023                                                                             A, Pg. 6 of
                                                                                                           20.
Genova Burns     Fee Applica�on for    3/6/23    2/21/23: Call with Molton regarding call with Rosen and   ECF No.
LLC              the Period of                   next steps. (.3)                                          3835-2, Ex
                 February 2023                                                                             A, Pg. 13 of
                                                                                                           20.
Genova Burns     Fee Applica�on for    3/6/23    2/26/23: Calls with Molton and Melanie regarding          ECF No.
LLC              the Period of                   Rosen call. (.5)                                          3835-2, Ex
                 February 2023                                                                             A, Pg. 18 of
                                                                                                           20.
Genova Burns     Fee Applica�on for    3/6/23    2/27/23: Call with Melanie regarding mee�ng with          ECF No.
LLC              the Period of                   Feinberg and Rosen call. (.3)                             3835-2, Ex
                 February 2023                                                                             A, Pg. 18 of
                                                                                                           20.


                                                 Total �me: 5.8


Anderson Kill PC Fee Applica�on for    2/9/23    1/31/23: “Review analysis of poten�al insurance           E CF No.
                 the Period of                   company objec�ons to poten�al LTL alterna�ve plan.”       3722-2, Ex
                 January 1, 2023                 (1)                                                       A, Pg. 14 of
                 through January 31,                                                                       17.
                 2023


                                                  Total �me: 1


Oterbourg P.C.   Fee Applica�on for    3/22/23   2/7/23: “Prepared for es�ma�on conference at              ECF No.
                 the Period of                   Brown Rudnick” (1.3)                                      3901-2, Ex
                 February 1, 2023


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                 through February                                                                       B, Pg. 11 of
                 28, 2023                                                                               40.
Oterbourg P.C.   Fee Applica�on for   3/22/23   2/1/23: “Telcon with Al Togut re poten�al media�on      ECF No.
                 the Period of                  Sessions” (.5)                                          3901-2, Ex
                 February 1, 2023                                                                       B, Pg. 37 of
                 through February                                                                       40.
                 28, 2023
Oterbourg P.C.   Fee Applica�on for   3/22/23   2/1/23: “Telcon with D. Molton re: poten�al             ECF No.
                 the Period of                  media�on sessions” (.3)                                 3901-2, Ex
                 February 1, 2023                                                                       B, Pg. 37 of
                 through February                                                                       40.
                 28, 2023
Oterbourg P.C.   Fee Applica�on for   3/22/23   2/4/23: “Correspondence with local counsel re           ECF No.
                 the Period of                  media�on and next steps” (.2)                           3901-2, Ex
                 February 1, 2023                                                                       B, Pg. 37 of
                 through February                                                                       40.
                 28, 2023
Oterbourg P.C.   Fee Applica�on for   3/22/23   2/5/23: “Correspondence with Molton and local           ECF No.
                 the Period of                  counsel re poten�al media�on next steps” (.4)           3901-2, Ex
                 February 1, 2023                                                                       B, Pg. 37 of
                 through February                                                                       40.
                 28, 2023
Oterbourg P.C.   Fee Applica�on for   3/22/23   2/8/23: “Conference call with Jim Green and Michele     ECF No.
                 the Period of                  Parﬁt re: media�on” (.3)                                3901-2, Ex
                 February 1, 2023                                                                       B, Pg. 38 of
                 through February                                                                       40.
                 28, 2023
Oterbourg P.C.   Fee Applica�on for   3/22/23   2/8/23: “Prepared for media�on session with Ken         ECF No.
                 the Period of                  Feinberg” (1.7)                                         3901-2, Ex
                 February 1, 2023                                                                       B, Pg. 38 of
                 through February                                                                       40.
                 28, 2023
Oterbourg P.C.   Fee Applica�on for   3/22/23   2/9/23: “Atend Media�on Mee�ng” (7.5)                   ECF No.
                 the Period of                                                                          3901-2, Ex
                 February 1, 2023                                                                       B, Pg. 38 of
                 through February                                                                       40.
                 28, 2023
Oterbourg P.C.   Fee Applica�on for   3/22/23   2/14/23: “Telcon with Ken Rosen re: media�on” (.4)      ECF No.
                 the Period of                                                                          3901-2, Ex
                 February 1, 2023                                                                       B, Pg. 38 of
                 through February                                                                       40.
                 28, 2023
Oterbourg P.C.   Fee Applica�on for   3/22/23   2/17/23: “Conference call with Birchﬁeld and Molton     ECF No.
                 the Period of                  re media�on” (.5)                                       3901-2, Ex
                 February 1, 2023                                                                       B, Pg. 38 of
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Oterbourg P.C.   Fee Applica�on for   3/22/23   2/17/23: “Correspondence with Ericka Johnson re next      ECF No.
                 the Period of                  steps re States and Media�on” (.2)                        3901-2, Ex
                 February 1, 2023                                                                         B, Pg. 38 of
                 through February                                                                         40.
                 28, 2023
Oterbourg P.C.   Fee Applica�on for   3/22/23   2/18/23: “Telcon with Any Birchﬁeld re media�on           ECF No.
                 the Period of                  Issues” (.2)                                              3901-2, Ex
                 February 1, 2023                                                                         B, Pg. 38 of
                 through February                                                                         40.
                 28, 2023
Oterbourg P.C.   Fee Applica�on for   3/22/23   2/18/23: “Follow-up telcon with Any Birchﬁeld re          ECF No.
                 the Period of                  media�on issues” (.1)                                     3901-2, Ex
                 February 1, 2023                                                                         B, Pg. 39 of
                 through February                                                                         40.
                 28, 2023
Oterbourg P.C.   Fee Applica�on for   3/22/23   2/18/23: “Correspondence with Birchﬁeld and Molton        ECF No.
                 the Period of                  re media�on issues” (.4)                                  3901-2, Ex
                 February 1, 2023                                                                         B, Pg. 39 of
                 through February                                                                         40.
                 28, 2023
Oterbourg P.C.   Fee Applica�on for   3/22/23   2/22/23: “Conference call with Ericka Johnson and JSF     ECF No.
                 the Period of                  re media�on” (.3)                                         3901-2, Ex
                 February 1, 2023                                                                         B, Pg. 39 of
                 through February                                                                         40.
                 28, 2023
Oterbourg P.C.   Fee Applica�on for   3/22/23   2/26/23: “Telcon with David Molton re: media�on” (.3)     ECF No.
                 the Period of                                                                            3901-2, Ex
                 February 1, 2023                                                                         B, Pg. 39 of
                 through February                                                                         40.
                 28, 2023
Oterbourg P.C.   Fee Applica�on for   3/22/23   2/26/23: “Telcon with Ken Rosen re: media�on” (.4)        ECF No.
                 the Period of                                                                            3901-2, Ex
                 February 1, 2023                                                                         B, Pg. 39 of
                 through February                                                                         40.
                 28, 2023
Oterbourg P.C.   Fee Applica�on for   3/22/23   2/27/23: “Telcon with Stolz re media�on” (.2)             ECF No.
                 the Period of                                                                            3901-2, Ex
                 February 1, 2023                                                                         B, Pg. 39 of
                 through February                                                                         40.
                 28, 2023


                                                Total �me: 15.3


Parkins Rubio    February 2023 Fee    3/14/20   2/8/23: “Travel to NY for mee�ng with commitee and        ECF No.
LLP              Applica�on           23        K. Feinberg on es�ma�on.” (2.0)                           3867, Ex. A:



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Parkins Rubio   February 2023 Fee   3/14/20   2/10/23: “Return trip from NY to meet Commitee on        ECF No.
LLP             Applica�on          23        es�ma�on” (2.0)                                          3867, Ex. A:
                                                                                                       Project
                                                                                                       Category:
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                                                                                                       Working
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Parkins Rubio   February 2023 Fee   3/14/20   2/1/23: “Par�cipate in full Commitee mee�ng to           ECF No.
LLP             Applica�on          23        discuss appeal, �ming of mandate and related li�ga�on    3867, Ex. A:
                                              issues; K. Feinberg mee�ng for February 9, 2023 in NYC   Project
                                              on Es�ma�on.” (1.2)                                      Category:
                                                                                                       Mee�ngs
                                                                                                       and
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                                                                                                       �ons with
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Parkins Rubio   February 2023 Fee   3/14/20   2/8/23: “Dinner mee�ng with Commitee to discuss          ECF No.
LLP             Applica�on          23        es�ma�on issues.” (1.1)                                  3867, Ex. A:
                                                                                                       Project
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Parkins Rubio   February 2023 Fee   3/14/20   2/8/23: “Dinner mee�ng with Commitee to discuss          ECF No.
LLP             Applica�on          23        es�ma�on issues.” (1.1)                                  3867, Ex. A:
                                                                                                       Project
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Parkins Rubio   February 2023 Fee   3/14/20   2/15/23: “Par�cipate in Commitee counsel zoom             ECF No.
LLP             Applica�on          23        mee�ng to discuss: in detail appeal issues and            3867, Ex. A:
                                              an�cipated mo�ons and brieﬁng schedules and               Project
                                              issuance of mandate from third Circuit; Judge Kaplans     Category:
                                              rulings on stay relief and change of perspec�ve on the    Mee�ngs
                                              case and LTL's nega�ve reorganiza�on opportunity;         and
                                              issues regarding K. Feinberg and direc�on of further      Communica
                                              discussion among par�es to seek resolu�on and current     �ons with
                                              posi�on of J&J.” (0.8)                                    Creditors,
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Parkins Rubio   February 2023 Fee   3/14/20   2/15/23: “…discussion of recent mee�ngs with K.           ECF No.
LLP             Applica�on          23        Feinberg and discussion of strategy for further           3867, Ex. A:
                                              nego�a�ons.” (0.4)                                        Project
                                                                                                        Category:
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                                                                                                        and
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The Bratle      Monthly Fee         02/24/2   - 01/31/23: “Mee�ng with J. Zhu and M. Bernatzky to      ECF No.
Group, Inc.     Statement for       023       review claims analysis” (0.5)                            3799-2,
                January 2023                                                                           Exhibit B, p.
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The Bratle      Monthly Fee         02/24/2   - 01/31/23: “Mee�ng with A. Metz, M. Bernatzky, R. Liu, ECF No.
Group, Inc.     Statement for       023       M. Lee, K. Begna re case status. (par�al atendance)”     3799-2,
                January 2023                  (0.2)                                                    Exhibit B, p.
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The Bratle      Monthly Fee         02/24/2   - 01/30/23: “Mee�ng with R. Liu and J. Zhu to discuss    ECF No.
Group, Inc.     Statement for       023       private law ﬁrm claims analysis” (0.9)                   3799-2,
                January 2023                                                                           Exhibit B, p.
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The Bratle      Monthly Fee         02/24/2   - 01/31/23: “Mee�ng with A. Metz, J. Zhu, R. Liu, M. Lee ECF No.
Group, Inc.     Statement for       023       and K. Begna to discuss case developments (par�al        3799-2,
                January 2023                  atendance)” (0.2)                                        Exhibit B, p.
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The Bratle     Monthly Fee       02/24/2   - 01/31/23: “Updated private law ﬁrm data analysis and    ECF No.
Group, Inc.    Statement for     023       memo” (1.8)                                               3799-2,
               January 2023                                                                          Exhibit B, p.
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The Bratle     Monthly Fee       02/24/2   - 03/31/23: “Mee�ng with A. Metz, J. Zhu, M.              ECF No.
Group, Inc.    Statement for     023       Bernatzky, M. Lee and K. Begna to discuss case            3799-2,
               January 2023                developments (par�al atendance)” (0.2)                    Exhibit B, p.
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                                           Total �me: 3.8

The Bratle     Monthly Fee       03/14/2   02/02/23: “Mee�ng with counsel and Y. Smith to            ECF No.
Group, Inc.    Statement for     023       discuss work plan.” (0.5)                                 3868-2,
               February 2023                                                                         Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/07/23: “Mee�ng with epidemiology expert, TCC         ECF No.
Group, Inc.    Statement for     023       representa�ves, J. Zhu, M. Bernatzky, Y. Aus�n Smith re   3868-2,
               February 2023               claims modeling.” (1.0)                                   Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/07/23: “Mee�ng with J. Zhu, R. Liu, K. Begna, M.     ECF No.
Group, Inc.    Statement for     023       Lee, M. Mar�nez and M. Bernatzky to review claims         3868-2,
               February 2023               analysis.” (0.5)                                          Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/14/23: “Mee�ng with J. Zhu and M. Bernatzky to       ECF No.
Group, Inc.    Statement for     023       discuss claims analysis.” (0.5)                           3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/21/23: “Mee�ng with J. Zhu and M. Bernatzky to       ECF No.
Group, Inc.    Statement for     023       discuss claims analysis.” (0.5)                           3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/01/23: “Mee�ng with M. Bernatzky to discuss next     ECF No.
Group, Inc.    Statement for     023       steps for claim value buildup analysis.” (0.2)            3868-2,
               February 2023                                                                         Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/01/23: “Mee�ng with TCC representa�ves, A.           ECF No.
Group, Inc.    Statement for     023       Metz, Y. Aus�n Smith, M. Bernatzky re Bratle work         3868-2,
               February 2023               plan.” (0.8)                                              Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/03/23: “Mee�ng with M. Bernatzky re reﬁnements       ECF No.
Group, Inc.    Statement for     023       to claims es�ma�on.” (0.7)                                3868-2,
               February 2023                                                                         Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/06/23: “Mee�ng with M. Bernatzky, R. Liu, M.         ECF No.
Group, Inc.    Statement for     023       Mar�nez re lost wages modeling and claims data            3868-2,
               February 2023               analysis.” (0.9)


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The Bratle     Monthly Fee       03/14/2   - 02/07/23: “Mee�ng with epidemiology expert, TCC       ECF No.
Group, Inc.    Statement for     023       representa�ves, A. Metz, M. Bernatzky, Y. Aus�n Smith   3868-2,
               February 2023               re claims modeling.” (1.4)                              Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/07/23: “Revised memo on claim es�ma�on for         ECF No.
Group, Inc.    Statement for     023       takeaway from mee�ng with epidemiology expert.”         3868-2,
               February 2023               (2.1)                                                   Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/07/23: “Mee�ng with A. Metz, M. Bernatzky, R. Liu, ECF No.
Group, Inc.    Statement for     023       K. Begna, M. Lee, M. Mar�nez re claim es�ma�on          3868-2,
               February 2023               analyses updates.” (0.5)                                Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/13/23: “Developed slide deck on pain and suﬀering ECF No.
Group, Inc.    Statement for     023       research for claim es�ma�on.” (0.5)                     3868-2,
               February 2023                                                                       Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/13/23: “Mee�ng with M. Bernatzky re pain and       ECF No.
Group, Inc.    Statement for     023       suﬀering slide deck.” (0.2)                             3868-2,
               February 2023                                                                       Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/14/23: “Mee�ng with A. Metz, M. Bernatzky, R. Liu, ECF No.
Group, Inc.    Statement for     023       K. Begna, M. Lee re claim es�ma�on.” (0.8)              3868-2,
               February 2023                                                                       Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/14/23: “Mee�ng with M. Bernatzky re work           ECF No.
Group, Inc.    Statement for     023       planning and sensi�vity analysis for claim value        3868-2,
               February 2023               es�ma�on.” (0.4)                                        Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/15/23: “Analyzed claims data for es�ma�on and      ECF No.
Group, Inc.    Statement for     023       prepared memo documen�ng ﬁndings from data              3868-2,
               February 2023               analyses.” (2.2)                                        Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/23/23: “Met w. M. Bernatzky and J. Zhu re:         ECF No.
Group, Inc.    Statement for     023       modeled claim value scenarios.” (0.3)                   3868-2,
               February 2023                                                                       Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/24/23: “Modeled claim value scenarios and          ECF No.
Group, Inc.    Statement for     023       prepared deliverable for TCC.” (0.4)                    3868-2,
               February 2023                                                                       Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/01/23: “Mee�ng with commitee members, A.           ECF No.
Group, Inc.    Statement for     023       Metz, Y. Aus�n Smith, and J. Zhu to discuss Bratle      3868-2,
               February 2023               workplan for claim value es�ma�on.” (0.8)               Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/21/23: “Mee�ng with J. Zhu to discuss next steps       ECF No.
Group, Inc.    Statement for     023       for claim value buildup analysis.” (0.2)                    3868-2,
               February 2023                                                                           Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/03/23: “Mee�ng with J. Zhu to discuss reﬁnements       ECF No.
Group, Inc.    Statement for     023       to claim es�ma�on.” (0.7)                                   3868-2,
               February 2023                                                                           Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/03/23: “Prepared slides documen�ng pain and            ECF No.
Group, Inc.    Statement for     023       suﬀering benchmarking analysis.” (1.0)                      3868-2,
               February 2023                                                                           Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/06/23: “Mee�ng with R. Liu and M. Mar�nez to           ECF No.
Group, Inc.    Statement for     023       discuss CPS data for claims analysis. (par�al               3868-2,
               February 2023               atendance)” (0.2)                                           Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/06/23: “Mee�ng with M. Mar�nez, J. Zhu and R.          ECF No.
Group, Inc.    Statement for     023       Liu to discuss CPS data analysis and private ﬁrm claims     3868-2,
               February 2023               data.” (0.9)                                                Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/06/23: “Prepared materials for mee�ng with             ECF No.
Group, Inc.    Statement for     023       epidemiologist expert.” (1.6)                               3868-2,
               February 2023                                                                           Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/06/23: “Con�nued to prepare for mee�ng with            ECF No.
Group, Inc.    Statement for     023       epidemiologist expert.” (0.8)                               3868-2,
               February 2023                                                                           Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/07/23: “Mee�ng with commitee members, Y.               ECF No.
Group, Inc.    Statement for     023       Aus�n Smith, A. Metz, and Julia Zhu and expert              3868-2,
               February 2023               epidemiologist to discuss claim es�ma�on.” (1.4)            Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/07/23: “Prepared list of follow-up items with          ECF No.
Group, Inc.    Statement for     023       expert epidemiologist.” (0.3)                               3868-2,
               February 2023                                                                           Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/09/23: “Edited memo on es�ma�on of claim               ECF No.
Group, Inc.    Statement for     023       value.” (0.1)                                               3868-2,
               February 2023                                                                           Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/13/23: “Con�nued to prepare slides on pain and         ECF No.
Group, Inc.    Statement for     023       suﬀering benchmarking analysis.” (0.9)                      3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/13/23: “Reviewed data analysis from private law        ECF No.
Group, Inc.    Statement for     023       ﬁrm related to claim es�ma�on.” (0.3)                       3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/13/23: “Mee�ng with J. Zhu to discuss slides for      ECF No.
Group, Inc.    Statement for     023       pain and suﬀering benchmarking analysis.” (0.2)            3868-2,
               February 2023                                                                          Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/13/23: “Coordinated analysis for pain and suﬀering    ECF No.
Group, Inc.    Statement for     023       benchmarking analysis.” (0.4)                              3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/13/23: “Performed pain and suﬀering                   ECF No.
Group, Inc.    Statement for     023       benchmarking analysis.” (0.4)                              3868-2,
               February 2023                                                                          Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/13/23: “Planned sensi�vity analysis for claim         ECF No.
Group, Inc.    Statement for     023       es�ma�on.” (0.6)                                           3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/14/23: “Mee�ng with R. Liu to discuss private law     ECF No.
Group, Inc.    Statement for     023       ﬁrm analysis for claim es�ma�on.” (0.5)                    3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/14/23: “Mee�ng with A. Metz, J. Zhu, R. Liu, K.       ECF No.
Group, Inc.    Statement for     023       Begna and M. Lee to discuss case updates and claim         3868-2,
               February 2023               es�ma�on analysis.” (0.8)                                  Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/14/23: “Planned sensi�vity analysis for claim         ECF No.
Group, Inc.    Statement for     023       es�ma�on.” (0.3)                                           3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/14/23: “Mee�ng with J. Zhu to discuss case            ECF No.
Group, Inc.    Statement for     023       updates and sensi�vity analysis for claim value            3868-2,
               February 2023               es�ma�on.” (0.4)                                           Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/15/23: “Edited memo on private law ﬁrm data           ECF No.
Group, Inc.    Statement for     023       analysis” (0.3)                                            3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/15/23: “Mee�ng with R. Liu to discuss private ﬁrm     ECF No.
Group, Inc.    Statement for     023       data analysis for claim es�ma�on.” (0.2)                   3868-2,
               February 2023                                                                          Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/15/23: “Mee�ng with K. Begna to discuss pain and      ECF No.
Group, Inc.    Statement for     023       suﬀering benchmarking analysis.” (0.2)                     3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/16/23: “Con�nued to edit memo on private law          ECF No.
Group, Inc.    Statement for     023       ﬁrm data analysis and planned robustness exercises.”       3868-2,
               February 2023               (0.6)                                                      Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/17/23: “Reviewed pain and suﬀering benchmarking       ECF No.
Group, Inc.    Statement for     023       analysis.” (0.2)                                           3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/21/23: “Planned analysis related to claim             ECF No.
Group, Inc.    Statement for     023       es�ma�on.” (0.2)                                           3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/21/23: “Mee�ng with J. Zhu and A. Metz to discuss     ECF No.
Group, Inc.    Statement for     023       updates on claim analysis.” (0.5)                          3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/23/23: “Mee�ng with J. Zhu and R. Liu to discuss      ECF No.
Group, Inc.    Statement for     023       claim es�ma�on.” (0.3)                                     3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/07/23: “Met with A. Metz, J. Zhu, M. Bernatzky, M.    ECF No.
Group, Inc.    Statement for     023       Mar�nez, M. Lee, and R. Li to discuss future claims        3868-2,
               February 2023               analysis.” (0.5)                                           Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/14/23: “Met with A. Metz, J. Zhu, M. Bernatzky, M.    ECF No.
Group, Inc.    Statement for     023       Mar�nez, M. Lee, and R. Liu to discuss claims analysis.”   3868-2,
               February 2023               (0.5)                                                      Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/15/23: “Updated treatment dura�on methodology         ECF No.
Group, Inc.    Statement for     023       per instruc�on from team.” (1.5)                           3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/16/23: “Reviewed pain and suﬀering damages of         ECF No.
Group, Inc.    Statement for     023       past benchmark tort cases.” (2.5)                          3868-2,
               February 2023                                                                          Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/16/23: “Updated treatment dura�on methodology         ECF No.
Group, Inc.    Statement for     023       per instruc�ons from team.” (0.9)                          3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/17/23: “Updated slide deck on benchmark analysis      ECF No.
Group, Inc.    Statement for     023       per review of pain and suﬀering damages payouts.”          3868-2,
               February 2023               (0.2)                                                      Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/21/23: “Updated current claims methodology            ECF No.
Group, Inc.    Statement for     023       memo for new treatment dura�on assump�ons.” (0.5)          3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/22/23: “Updated current claims analysis per new       ECF No.
Group, Inc.    Statement for     023       instruc�ons from counsel; audited team’s results.” (1.1)   3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/24/23: “Updated current claims analysis per new       ECF No.
Group, Inc.    Statement for     023       instruc�ons from counsel; audited team’s results.” (0.9)   3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/14/23: “Atend internal mee�ng to discuss claims       ECF No.
Group, Inc.    Statement for     023       analysis. (par�al atendance).” (0.5)                       3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/06/23: “Met with R. Liu, M. Bernatzky, and J. Zhu     ECF No.
Group, Inc.    Statement for     023       to discuss data issues.” (0.9)                             3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/07/23: “Met with R. Liu, M. Bernatzky, J. Zhu, K.     ECF No.
Group, Inc.    Statement for     023       Begna, A. Metz, and M. Lee to discuss updates to           3868-2,
               February 2023               analysis.” (0.5)                                           Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/16/23: “Analyzed dataset from counsel.” (1.9)         ECF No.
Group, Inc.    Statement for     023                                                                  3868-2,
               February 2023                                                                          Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/17/23: “Analyzed dataset from counsel.” (2.8)         ECF No.
Group, Inc.    Statement for     023                                                                  3868-2,
               February 2023                                                                          Exhibit B, p.
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The Bratle     Monthly Fee       03/14/2   - 02/21/23: “Updated claims es�ma�on model.” (0.8)         ECF No.
Group, Inc.    Statement for     023                                                                  3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/24/23: “Updated claims analysis based on counsel      ECF No.
Group, Inc.    Statement for     023       recommenda�ons.” (0.7)                                     3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/02/23: “Updated private law ﬁrm dataset analysis.”    ECF No.
Group, Inc.    Statement for     023       (2.0)                                                      3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/03/23: “Updated private law ﬁrm dataset analysis.”    ECF No.
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The Bratle     Monthly Fee       03/14/2   - 02/06/23: “Updated memo for private law ﬁrm data          ECF No.
Group, Inc.    Statement for     023       analysis.” (1.8)                                            3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/06/23: “Updated private law ﬁrm data analysis to       ECF No.
Group, Inc.    Statement for     023       calculate claim distribu�on.” (1.9)                         3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/06/23: “Mee�ng with M. Bernatzky, J. Zhu, M.           ECF No.
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The Bratle     Monthly Fee       03/14/2   - 02/07/23: “Updated lost wage analysis with                ECF No.
Group, Inc.    Statement for     023       alterna�ve discoun�ng methods to compare the                3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/13/23: “Analyzed private law ﬁrm dataset and           ECF No.
Group, Inc.    Statement for     023       calculated borderline rate.” (0.9)                          3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/14/23: “Mee�ng with M. Bernatzky re private law        ECF No.
Group, Inc.    Statement for     023       ﬁrm dataset analysis.” (0.5)                                3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/14/23: “Mee�ng with M. Bernatzky, K. Begna, M.         ECF No.
Group, Inc.    Statement for     023       Lee, J. Zhu, A. Metz for current claim analysis.” (0.5)     3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/15/23: “Mee�ng with M. Bernatzky re. Private Law       ECF No.
Group, Inc.    Statement for     023       Firm dataset analysis.” (0.2)                               3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/15/23: “Updated private law ﬁrm dataset analysis       ECF No.
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The Bratle     Monthly Fee       03/14/2   - 02/16/23: “Analyzed dataset from counsel.” (0.2)          ECF No.
Group, Inc.    Statement for     023                                                                   3868-2,
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The Bratle     Monthly Fee       03/14/2   - 02/16/23: “Updated claim rate analysis script and re-     ECF No.
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The Bratle     Monthly Fee       03/14/2   - 02/21/23: “Updated claim analysis scripts with new        ECF No.
Group, Inc.    Statement for     023       rates.” (1.2)                                               3868-2,
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The Bratle       Monthly Fee       03/14/2   - 02/22/23: “Updated claim value grids based on new         ECF No.
Group, Inc.      Statement for     023       average claim values and claim analysis given the new       3868-2,
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The Bratle       Monthly Fee       03/14/2   - 02/22/23: “Prepare slidedeck for new grid scenarios.”     ECF No.
Group, Inc.      Statement for     023       (1.1)                                                       3868-2,
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The Bratle       Monthly Fee       03/14/2   - 02/23/23: “Mee�ng with M. Bernatzky and J. Zhu to         ECF No.
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The Bratle       Monthly Fee       03/14/2   - 02/23/23: “Updated claim es�ma�on analysis.” (0.6)        ECF No.
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The Bratle       Monthly Fee       03/14/2   - 02/24/23: “Updated and audited claim value and            ECF No.
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FTI Consul�ng,   Monthly Fee       03/21/2   - 01/31/23: “Review legal ﬁlings as requested by TCC        ECF No.
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FTI Consul�ng,   Monthly Fee       03/21/2   01/31/23: “Review updated claims presenta�on re:            ECF No.
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FTI Consul�ng,   Monthly Fee       03/21/2   1/31/23: “Prepare ﬁnal edits to presenta�on for court-      ECF No.
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FTI Consul�ng,   Monthly Fee       03/21/2   - 1/31/23: “Con�nue to prepare ﬁnal edits to                ECF No.
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FTI Consul�ng,   Monthly Fee       03/21/2   - 1/31/23: “Further prepare ﬁnal edits to presenta�on       ECF No.
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FTI Consul�ng,   Monthly Fee       03/27/2   - 02/28/23: “Analyze historical TDPs re: TCC Counsel       ECF No.
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FTI Consul�ng,   Monthly Fee       03/27/2   - 02/01/23: “Con�nue to review updated claims            ECF No.
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FTI Consul�ng,   Monthly Fee       03/27/2   - 02/01/23: “Prepare presenta�on for court-appointed     ECF No.
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FTI Consul�ng,   Monthly Fee       03/27/2   - 02/01/23: “Prepare updates to modeling inputs re:      ECF No.
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FTI Consul�ng,   Monthly Fee       03/27/2   - 02/01/23: “Con�nue to prepare updates to modeling      ECF No.
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FTI Consul�ng,   Monthly Fee       03/27/2   - 02/01/23: “Review updates to model re: es�ma�on of     ECF No.
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FTI Consul�ng,   Monthly Fee       03/27/2   - 02/02/23: “Address inquiry from TCC Counsel re:          ECF No.
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FTI Consul�ng,   Monthly Fee       03/27/2   - 02/02/23: “Summarize sensi�vity analysis re:             ECF No.
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FTI Consul�ng,   Monthly Fee       03/27/2   - 02/02/23: “Finalize updates to modeling strategy re:     ECF No.
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FTI Consul�ng,   Monthly Fee       03/27/2   - 02/03/23: “Review summary of modeling strategy re:       ECF No.
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FTI Consul�ng,   Monthly Fee       03/27/2   - 02/03/23: “Review modeling strategy re: es�ma�on of      ECF No.
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FTI Consul�ng,   Monthly Fee       03/27/2   - 02/06/23: “Review claims modeling presenta�on re:        ECF No.
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FTI Consul�ng,   Monthly Fee       03/27/2   - 02/06/23: “Review key takeaways from updated             ECF No.
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FTI Consul�ng,   Monthly Fee       03/27/2   - 02/06/23: “Finalize outstanding workstreams re:         ECF No.
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FTI Consul�ng,   Monthly Fee       03/27/2   - 02/06/23: “Prepare updates to modeling presenta�on      ECF No.
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FTI Consul�ng,   Monthly Fee       03/27/2   - 02/08/23: “Review es�ma�on materials in prepara�on      ECF No.
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Inc.             Statement for     023       prepara�on for mee�ng with TCC Counsel re:                3913-3,
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FTI Consul�ng,   Monthly Fee       03/27/2   - 02/09/23: “Prepare for mee�ng with court-appointed      ECF No.
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FTI Consul�ng,   Monthly Fee       03/27/2   - 02/09/23: “Par�cipate in call with TCC Counsel re:      ECF No.
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FTI Consul�ng,   Monthly Fee       03/27/2   - 02/09/23: “Par�cipate in media�on mee�ng with TCC       ECF No.
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